Exhibit A
                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF
                              ILLINOIS EASTERN DIVISION

 Kove IO, Inc.,
                                                       Civil Action No. 1:18-cv-08175
                         Plaintiff,
                                                       Hon. Rebecca R. Pallmeyer
         v.                                            Hon. Sheila M. Finnegan
                                                       Magistrate Judge
 Amazon Web Services, Inc.,

                         Defendant.                    Jury Trial Demanded




                 ADDENDUM IN SUPPORT OF REPLY IN SUPPORT OF
                MOTION TO COMPEL DISCOVERY OF ANDREW JASSY
       Plaintiff Kove IO, Inc. (“Kove”) respectfully submits this Addendum in support of its

Reply to Amazon Web Services, Inc.’s (“AWS”) Opposition to Kove’s Motion to Compel

Discovery of Andrew Jassy (Dkt. 369).

       On August 5, 20201, Kove deposed Jeff Barr, AWS Chief Evangelist. Despite AWS’s

representation that Barr possesses relevant overlapping knowledge with Jassy on issues identified

by Kove (Dkt. 361at 3, 6, 10), Barr testified to the contrary:




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                              Barr was also unable to provide information regarding the following,

which Kove believes Jassy possess:

       Early history of AWS (Barr Tr. at



                                            see also id. at



       Contents and trajectory of the six-pager (Id. at

                                                                            see also id. at




       Design of S3 (Id. at

                                                                                      see also id.

       at



       Design of DynamoDB (Barr Tr. at




       Accordingly, other AWS witnesses, including Barr, are not appropriate substitutes for

Jassy, who has personal and unique knowledge of critical issues in this case. Kove respectfully

requests the Court order AWS to produce Jassy for deposition and to produce Jassy’s discovery.



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Dated: August 7, 2021.                  Respectfully submitted,

                                        /s/ Khue Hoang

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of August, 2021, I electronically filed the foregoing

document with the clerk of the court for the U.S. District Court, Northern District of Illinois,

Eastern Division, using the electronic case filing system of the court. The electronic case filing

system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in

writing to accept this Notice as service of this document by electronic means.

                                                     /s/ Khue Hoang
                                                         Khue Hoang




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